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                        EXHIBIT 1
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    7
    8
    9                     UNITED STATES DISTRICT COURT

   10                    CENTRAL DISTRICT OF CALIFORNIA

   11
   12 In re YAYYO, INC. SECURITIES         )    Case No.: 2:20-cv-08235-SVW-AFM
      LITIGATION                           )
   13                                      )
                                           )
                                           )    CLASS ACTION
   14
                                           )
   15                                      )    STIPULATION OF SETTLEMENT
                                           )    WITH THE YAYO DEFENDANTS
   16                                      )    AND WESTPARK CAPITAL, INC.
                                           )
   17
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    1
              This Stipulation of Settlement dated November 18, 2021 (the “Stipulation”)
    2
        is made and entered into by and among the following parties through their
    3
        undersigned counsel: (i) Plaintiff William Koch (“Plaintiff”), on behalf of himself
    4
        and the other members of the putative classes (“Classes”) (as defined below); and
    5
        (2) the company now known as EvMo, Inc., but formally known as YayYo, Inc. and
    6
        Rideshare Rental, Inc. (“YayYo” or the “Company”), Ramy El-Batrawi, Jonathan
    7
        Rosen, Kevin Pickard, Harbant S. Sidhu, Jeffrey Guzy, Christopher Miglino, Paul
    8
        Richter and WestPark Capital, Inc. (collectively, the “Defendants” and, together
    9
        with Plaintiff, the “Settling Parties” ).
   10
              The Stipulation is intended to fully, finally, and forever resolve, discharge,
   11
        and settle all claims in the Litigation (as defined below), subject to approval of the
   12
        Court (as defined below) and the terms and conditions set forth in this Stipulation.
   13
        I.    THE LITIGATION
   14
              This action was commenced on September 9, 2020, Case No. 2:20-cv-08235-
   15
        SVW-AFM in the Central District of California (the “Federal Court Action” or the
   16
        “Litigation”). On September 18, 2020, Plaintiff William Koch filed a substantially
   17
        similar action in the same court, Case No. 2:20-cv-08591-SVW-AFM (the “Koch
   18
        Action”).    On November 2, 2020, the Court consolidated the two cases and
   19
        administratively closed the Koch Action docket. On December 1, 2020, the Court
   20
        appointed Bernard Bednarz as Lead Plaintiff and approved Pomerantz LLP as Lead
   21
        Counsel.
   22
              On February 8, 2021, Mr. Bednarz and Plaintiff filed the operative Amended
   23
        Class Action Complaint for Violations of the Federal Securities Laws (“Amended
   24
        Complaint”). On March 1, 2021, Defendant WestPark Capital, Inc. (“WestPark”)
   25
        filed an answer to the Amended Complaint and Defendant Aegis Capital Corp.
   26
        (“Aegis”) filed a motion to dismiss the Amended Complaint. On March 3, 2021, the
   27
   28

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    1 YayYo Defendants1 filed an answer to the Amended Complaint (other than
    2 Defendant Jonathan Rosen, who filed later). The Litigation was then temporarily
    3 stayed pending an early mediation entered into at the request of Defendants.
    4        In April 2021, the parties to both the Federal Court Action and a state class
    5 action filed by plaintiff Michael Vanbecelaere in the Los Angeles County Superior
    6 Court, Case No. 20STCV28066 (the “State Action”), alleging substantially similar
    7 securities fraud claims, engaged the services of Michelle Yoshida of Phillips ADR
    8 Enterprises, a nationally recognized mediator and mediation firm, to facilitate
    9 settlement negotiations and assist in resolving the Litigation in its entirety. On April
   10 29, 2021, the parties, including representatives from the State Action, participated
   11 in a full-day mediation with Ms. Yoshida. In advance of the mediation, the parties
   12 prepared and exchanged detailed position statements which they presented to and
   13 discussed with Ms. Yoshida.
   14        Despite the parties’ efforts at the mediation, they did not reach an agreement
   15 to settle the Federal Court Action or the State Action, or any aspect of them, and the
   16 Litigation continued. Plaintiffs opposed Defendant Aegis’ motion to dismiss on
   17 May 17, 2021, and Defendant Aegis replied on May 31, 2021. However, as the
   18 Litigation was ongoing, Defendant Aegis decided to settle the Litigation as to Aegis
   19 solely for $550,000.00. The court granted preliminary approval of that settlement
   20 on October 1, 2021.
   21        The Litigation continued as to all other parties. On July 2, 2021, Mr. Bednarz
   22 and Plaintiff filed a motion to certify the Classes. The YayYo Defendants and
   23 WestPark opposed that motion. The Court first held oral argument on that motion
   24 on September 20, 2021, which was then continued to October 19, 2021.
   25
   26   1
       The “YayYo Defendants” include YayYo, Ramy El-Batrawi, Jonathan Rosen,
   27 Kevin Pickard, Harbant S. Sidhu, Jeffrey Guzy, Christopher Miglino, and Paul
   28 Richter.

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    1         While the motion for class certification was still pending, the Settling Parties
    2 engaged in a continued mediation session with Ms. Yoshida. While a settlement
    3 was not reached that day, it was reached in the days after, with the assistance of Ms.
    4 Yoshida.
    5         At the time this Settlement (as defined below) was reached, Plaintiff had,
    6 among other things, completed the following: extensive briefing on the YayYo
    7 Defendants’ motion for judgment on the pleadings, which the Court denied on July
    8 2, 2021, and on Aegis’ motion to dismiss; briefing on class certification; participated
    9 in the Rule 26(f) conference; filed a joint report and Rule 26(f) discovery plan;
   10 served Rule 26(a) disclosures; reviewed tens of thousands of documents;
   11 participated in meet and confers and court hearings related to discovery; and
   12 conducted several depositions.
   13 II.     DEFENDANTS’ DENIAL OF WRONGDOING AND
   14         LIABILITY
   15         Each Defendant has denied and continue to deny each and all of the claims
   16 alleged by Plaintiff and the Classes in the Litigation. Defendants have expressly
   17 denied and continues to deny all charges of wrongdoing or liability against them
   18 arising out of any of the conduct, statements, acts or omissions alleged, or that could
   19 have been alleged, in the Litigation. Defendants have also denied and continue to
   20 deny, among other allegations, the allegations that Plaintiff or the Classes have
   21 suffered any damage, or that Plaintiff or the Classes were harmed by the conduct
   22 alleged, or that could have been alleged, in the Litigation, and nothing in this
   23 Stipulation shall constitute an admission or concession by Defendants regarding the
   24 appropriateness of certifying the Classes in the Litigation. Defendants believe the
   25 Litigation is without merit and the evidence developed to date supports its position
   26 that they acted in good faith and in a manner they reasonably believed to be in
   27 accordance with all applicable rules, regulations, and laws. Defendants further
   28 maintain they have meritorious defenses to all claims alleged in the Litigation.

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    1         Nonetheless, Defendants have taken into account the expense, uncertainty and
    2 risks inherent in any litigation, especially in complex cases such as this Litigation,
    3 and have therefore determined it is desirable and beneficial to them that the
    4 Litigation be settled as in the manner and upon the terms and conditions set forth in
    5 this Stipulation.
    6 III.    PLAINTIFF’S CLAIMS AND THE BENEFITS OF
              SETTLEMENT
    7
    8         Plaintiff and Lead Counsel have conducted a thorough investigation of the
    9 facts and legal theories relating to and forming the basis of the claims alleged in the
   10 Litigation based upon the information available and provided by Defendants,
   11 including through extensive litigation of Plaintiff’s claims and a multi-phase
   12 discovery and fact-finding process.
   13         Plaintiff and Lead Counsel have concluded, based upon the aforementioned
   14 litigation record and factual investigation, and taking into account the sharply
   15 contested issues involved, the expense and time necessary to prosecute the Litigation
   16 through trial, and subsequent potential appeals, the risks, costs, and uncertainties of
   17 further prosecution of the Litigation, and the substantial benefits to be provided to
   18 the Class Members pursuant to this Stipulation, that a settlement with Defendants on
   19 the terms set forth herein is fair, equitable, adequate, reasonable, and in the best
   20 interests of Plaintiff and the Classes. The Settling Parties have therefore agreed to
   21 settle the Litigation as to Defendants on the terms set forth herein.
   22 IV.     TERMS OF STIPULATION AND AGREEMENT OF
              SETTLEMENT
   23
              NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED by
   24
        and among Plaintiff (for himself and the Classes) and Defendants, by and through
   25
        their attorneys of record, that, subject to the approval of the Court, the Litigation, the
   26
        Released Plaintiff’s Claims and Released Defendants’ Claims (as defined herein)
   27
        shall be finally and fully compromised, settled, and released with prejudice as to
   28

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    1 Defendants upon and subject to the terms and conditions of the Stipulation, as
    2 follows:
    3        1.     Definitions
    4        In addition to the terms defined at various points throughout this Stipulation,
    5 the following additional terms as used in the Stipulation shall have the meanings
    6 ascribed to them below:
    7        1.1    “Authorized Claimant” means any Class Member who submits a timely
    8 and valid Claim that is approved for payment from the Net Settlement Fund pursuant
    9 to the terms of the Stipulation and as approved by the Court.
   10        1.2    “Claim” means a paper claim submitted on a Proof of Claim and
   11 Release form or an electronic claim that is submitted to the Claims Administrator.
   12        1.3    “Claimant” means a person or entity who or which submits a Claim
   13 seeking to be eligible to share in the proceeds of the Net Settlement Fund.
   14        1.4    “Claim Form” or “Proof of Claim and Release” means the form that a
   15 Claimant must complete and submit, substantially in the form attached hereto as
   16 Exhibit A-2, should that Claimant seek to share in the distribution of the Net
   17 Settlement Fund.
   18        1.5    “Claims Administrator” means the claims administration entity
   19 selected and retained by Plaintiff to administer the Settlement, as to be approved by
   20 the Court.
   21        1.6    “Classes” means (i) All persons or entities who purchased or otherwise
   22 acquired YayYo common stock pursuant and/or traceable to the registration
   23 statement and related prospectuses issued in connection with YayYo’s November
   24 13, 2019 initial public offering; (ii) All persons or entities who purchased or
   25 otherwise acquired YayYo stock during the period from November 13, 2019 through
   26 and including April 28, 2020 (the “Class Period”); and (iii) all persons or entities
   27 who were primary investors and acquired shares of YayYo common stock pursuant
   28 to the November 13, 2019 IPO. Excluded from the Classes are Defendants; the

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    1 officers and directors of Defendants; members of Defendants’ families and their
    2 legal representatives, heirs, successors, and assigns; and any entity in which
    3 Defendants have or had a controlling interest.2      In addition, any person or entity
    4 who or which submits a request for exclusion from the Classes that is accepted by
    5 the Court shall also be excluded from the Classes.
    6        1.7    “Class Member” means any person or entity who falls within the
    7 definition of the Classes as set forth in ¶1.6, above.
    8        1.8    “Conditional Consent Judgment” means the document executed by
    9 EvMo, Inc., Terren Peizer, WestPark Capital, Inc. and Jeremy Lieberman on behalf
   10 of Plaintiff on October 20, 2021, which is to be filed with the District Court for the
   11 Central District of California on any business day if the payment plan detailed in
   12 ¶2.2 is not adhered to.
   13        1.9    “Court” means the United States District Court for the Central District
   14 of California.
   15        1.10 “Defendants” means the company now known as EVmo, Inc., but
   16 formerly known as YayYo, Inc. and Rideshare Rental, Inc., Ramy El-Batrawi,
   17 Jonathan Rosen, Kevin Pickard, Harbant S. Sidhu, Jeffrey Guzy, Christopher
   18 Miglino, Paul Richter and WestPark Capital, Inc.
   19        1.11 “Defendants’ Counsel” means Larson LLP, Richards Carrington LLC
   20 and Freeman Mathis & Gary, LLP.
   21        1.12 “Effective Date” means the date upon which the Settlement
   22 contemplated by this Stipulation shall become effective, as set forth in ¶7.1, below.
   23        1.13 “Escrow Account” means an interest-bearing escrow account
   24 established by the Escrow Agent to receive the Settlement Amount.
   25        1.14 “Escrow Agent” means Huntington National Bank.
   26
   27   2
       Controlling interest shall be defined as having a majority ownership interest or
   28 ownership of the majority of voting stock of the entity.

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    1         1.15 “Federal Court Action” means In re YayYo, Inc. Securities Litigation,
    2 United States District Court for the Central District of California, Case No. 2:20-cv-
    3 08235-SVW-AFM, originally filed on September 9, 2020.
    4         1.16 “Fee and Expense Application” means Lead Counsel’s application or
    5 applications for: (a) an award of attorneys’ fees; plus (b) expenses or charges in
    6 connection with prosecuting the Litigation; plus (c) any interest on such attorneys’
    7 fees and expenses at the same rate and for the same periods as earned by the
    8 Settlement Fund (until paid) as may be awarded by the Court.
    9         1.17 “Fee and Expense Award” means the payment of attorneys’ fees and
   10 expenses of Plaintiff’s Counsel from the Settlement Fund.
   11         1.18 “Final” means, with respect to the Judgment approving the Stipulation,
   12 substantially in the form of Exhibit B attached hereto or any other order of the Court,
   13 when the last of the following shall occur: (i) the expiration of the time to file a
   14 motion to alter or amend the Judgment or order under Fed. R. Civ. P. 59(e) without
   15 any such motion having been filed; (ii) the time in which to appeal the Judgment or
   16 order has passed without any appeal having been taken; or (iii) if a motion to alter
   17 or amend is filed or if an appeal is taken, immediately after the determination of that
   18 motion or appeal so that it is no longer subject to any further judicial review or appeal
   19 whatsoever, whether by reason of affirmance by a court of last resort, lapse of time,
   20 voluntary dismissal of the appeal or otherwise in such a manner as to permit the
   21 consummation of the Settlement substantially in accordance with the terms and
   22 conditions of this Stipulation. For purposes of this paragraph, an “appeal” shall
   23 include any petition for a writ of certiorari or other writ that may be filed in
   24 connection with approval or disapproval of this Settlement; however, any appeal
   25 which concerns only the issue of Lead Counsel’s Fee and Expense Application,
   26 payments to Plaintiff and/or any of Plaintiff’s Counsel for their time and expenses,
   27 the Plan of Allocation (as defined below), or the procedures for determining
   28

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    1 Authorized Claimants’ recognized Claims shall not in any way delay or preclude the
    2 Judgment from becoming Final.
    3        1.19 “Judgment” means the Judgment to be rendered by the Court,
    4 substantially in the form attached hereto as Exhibit B.
    5        1.20 “Lead Counsel” means Pomerantz LLP.              Bronstein, Gewirtz &
    6 Grossman, LLC serves as additional counsel in the Litigation.
    7        1.21 “Litigation” means the Federal Court Action.
    8        1.22 “Net Settlement Fund” means the Settlement Fund less any attorneys’
    9 fees, expenses, and interest and any award to a person or people, for service awards
   10 pursuant to 15 U.S.C. §78u-4(a)(4) in connection with representation of the Classes
   11 as approved by the Court and less Notice and Administration Expenses, Taxes and
   12 Tax Expenses, and other fees and expenses authorized by the Court.
   13        1.23 “Notice” means the Notice of Pendency and Proposed Settlement of
   14 Class Action, substantially in the form attached hereto as Exhibit A-1, which is to
   15 be mailed to Class Members.
   16        1.24 “Notice and Administration Expenses” means all costs, fees, and
   17 expenses incurred in connection with providing notice to the Classes and the
   18 administration of the Settlement, including, but not limited to: (i) providing notice
   19 by mail, publication, and other means to Class Members; (ii) receiving and
   20 reviewing Claims; (iii) applying the Plan of Allocation; (iv) communicating with
   21 Persons regarding the Settlement and claims administration process; (v) distributing
   22 the proceeds of the Settlement; and (vi) fees related to the Escrow Account and
   23 investment of the Settlement Fund.
   24        1.25 “Person” means an individual, corporation (including all divisions and
   25 subsidiaries), general partnership, limited partnership, association, joint stock
   26 company, joint venture, limited liability company, professional corporation, estate,
   27 legal representative, trust, unincorporated association, government or any political
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    1 subdivision or agency thereof, and any business or legal entity and their heirs,
    2 predecessors, successors, representatives, or assignees.
    3         1.26 “Plaintiff” means Plaintiff William Koch in the Federal Court Action.
    4         1.27 “Plaintiff’s Counsel” means any legal counsel who represented any
    5 Plaintiff in the Litigation, including Pomerantz LLP and Bronstein, Gewirtz &
    6 Grossman, LLC.
    7         1.28 “Plan of Allocation” means the proposed plan of allocation of the Net
    8 Settlement Fund set forth in the Notice.
    9         1.29 “Preliminary Approval Order” means the proposed order, substantially
   10 in the form of Exhibit A attached hereto, requesting, inter alia, the preliminary
   11 approval of the Settlement set forth in the Stipulation, and approval for the mailing
   12 of the Notice and publication of the Summary Notice, substantially in the forms of
   13 Exhibits A-1 and A-3 attached hereto.
   14         1.30 “Released Parties” means each of a Defendant’s respective former,
   15 present, or future parents, subsidiaries, divisions and affiliates, and the respective
   16 employees, members, partners, principals, officers, directors, controlling
   17 shareholders, attorneys, advisors, accountants, auditors, and insurers of each of
   18 them; and the predecessors, successors, estates, spouses, heirs, executors, trusts,
   19 trustees, administrators, agents, legal or personal representatives and assigns of each
   20 of them, in their capacity as such.
   21         1.31 “Released Defendants’ Claims” means all claims and causes of action
   22 of every nature and description, whether known or Unknown Claims, whether
   23 arising under federal, state, local, common, statutory, administrative, or foreign law,
   24 or any other law, rule, or regulation, at law or in equity, whether fixed or contingent,
   25 whether foreseen or unforeseen, whether accrued or unaccrued, whether liquidated
   26 or unliquidated, whether matured or unmatured, whether direct, representative, class,
   27 or individual in nature that arise out of or relate in any way to the institution,
   28 prosecution, or settlement of the claims against Defendants in this Litigation.

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    1 Released Defendants’ Claims shall not include any claims relating to the
    2 enforcement of the Settlement.
    3         1.32 “Released Plaintiff’s Claims” means all claims, demands, rights, and
    4 causes of action, or liabilities of every nature and description, whether known or
    5 Unknown Claims (as defined below), whether arising under federal, state, local,
    6 common, statutory, administrative, or foreign law, or any other law, rule, or
    7 regulation, at law or in equity, whether fixed or contingent, whether foreseen or
    8 unforeseen, whether accrued or unaccrued, whether liquidated or unliquidated,
    9 whether matured or unmatured, whether direct, representative, class, or individual
   10 in nature that (a) Plaintiff or any other member of the Classes: (i) asserted in the
   11 Federal Court Action or (ii) could have asserted or have been asserted in any court
   12 or forum that arise out of or are based upon any of the allegations, transactions, facts,
   13 matters or occurrences, representations, or omissions set forth in the Federal Court
   14 Action; and (b) relate in any way to the purchase or other acquisition of YayYo
   15 common stock pursuant or traceable to the registration statement and related
   16 prospectuses issued in connection with YayYo’s November 13, 2019 IPO. Released
   17 Plaintiff’s Claims shall not include (i) any claims relating to the enforcement of the
   18 Settlement; or (ii) any claims of any person or entity who or which submits a request
   19 for exclusion from any of the Classes that is accepted by the Court.
   20         1.33 “Releasing Plaintiff’s Party” or “Releasing Plaintiff’s Parties” means
   21 (i) Plaintiff and the Class Members, and (ii) each of their respective family members,
   22 and their respective general partners, limited partners, principals, shareholders, joint
   23 venturers, members, officers, directors, managers, managing directors, supervisors,
   24 employees, contractors, consultants, auditors, accountants, financial advisors,
   25 professional advisors, investment bankers, representatives, insurers, trustees,
   26 trustors, agents, attorneys, professionals, predecessors, successors, assigns, heirs,
   27 executors, administrators, and any controlling person thereof, in their capacities as
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    1 such. Releasing Plaintiff’s Parties do not include any Person who timely and validly
    2 seeks exclusion from the Class.
    3         1.34 “Settlement” means the settlement between Plaintiff and Defendants in
    4 the Litigation on the terms and conditions set forth in this Stipulation.
    5         1.35 “Settlement Amount” means One Million One Hundred and Fifty
    6 Thousand Dollars ($1,150,000.00) in cash to be paid by wire transfer or check to the
    7 Escrow Agent pursuant to ¶2.2 of this Stipulation.
    8         1.36 “Settlement Fund” means the Settlement Amount plus all interest and
    9 income earned thereon.
   10         1.37 “Settlement Hearing” means the hearing to be held by the Court to
   11 determine whether the Settlement is fair, reasonable, and adequate and should be
   12 approved.
   13         1.38 “Settling Parties” means, collectively, Defendants and Plaintiff, on
   14 behalf of himself and the Classes.
   15         1.39 “Summary Notice” means the Summary Notice, substantially in the
   16 form of Exhibit A-3 attached hereto, to be published as set forth in the Preliminary
   17 Approval Order.
   18         1.40 “Tax” or “Taxes” means any and all taxes, fees, levies, duties, tariffs,
   19 imposts, and other charges of any kind (together with any and all interest, penalties,
   20 additions to tax and additional amounts imposed with respect thereto) imposed by
   21 any governmental authority, whether federal, state or local.
   22         1.41 “Tax Expenses” means, without limitation, expenses of tax attorneys
   23 and/or accountants and mailing and distribution costs and expenses relating to filing
   24 (or failing to file) the returns described in ¶2.10.
   25         1.42 “Unknown Claims” means any and all Released Plaintiff’s Claims
   26 which the Releasing Plaintiff’s Parties do not know or suspect to exist in their favor
   27 at the time of the release of the Released Defendants’ Parties, and any and all
   28 Released Defendants’ Claims which the Released Defendants’ Parties do not know

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    1 or suspect to exist in their favor at the time of the release of the Releasing Plaintiff’s
    2 Parties, which, if known by him, her, or it, might have affected his, her or its
    3 decision(s) with respect to the Settlement, including the decision to object to the
    4 terms of the Settlement or to exclude himself, herself, or itself from the Class. With
    5 respect to any and all Released Plaintiff’s Claims and Released Defendants’ Claims,
    6 the Settling Parties stipulate and agree that, upon the Effective Date, Plaintiff and
    7 Defendants shall expressly waive, and each Releasing Plaintiff’s Party and Released
    8 Defendants’ Party shall be deemed to have, and by operation of the Final Judgment
    9 shall have expressly waived, the provisions, rights, and benefits of California Civil
   10 Code §1542, which provides:
   11         A general release does not extend to claims which the creditor or
              releasing party does not know or suspect to exist in his or her favor at
   12         the time of executing the release and that, if known by him or her, would
              have materially affected his or her settlement with the debtor or released
   13         party.
   14 Plaintiff and Defendants shall expressly waive, and each Releasing Plaintiff’s Party
   15 and Released Defendants’ Party shall be deemed to have, and by operation of the
   16 Final Judgment shall have expressly waived, any and all provisions, rights, and
   17 benefits conferred by any law of any state or territory of the United States or any
   18 foreign country, or any principle of common law, which is similar, comparable or
   19 equivalent in substance to California Civil Code § 1542. Plaintiff, any Releasing
   20 Plaintiff’s Party, Defendants, or any Released Defendants’ Party may hereafter
   21 discover facts, legal theories, or authorities in addition to or different from those
   22 which any of them now knows or believes to be true with respect to the subject
   23 matter of the Released Plaintiff’s Claims and the Released Defendants’ Claims, but
   24 Plaintiff and Defendants shall expressly, fully, finally, and forever waive,
   25 compromise, settle, discharge, extinguish, and release, and each Releasing Plaintiff’s
   26 Party and Released Defendants’ Party shall be deemed to have waived,
   27 compromised, settled, discharged, extinguished, and released, and upon the
   28 Effective Date and by operation of the Final Judgment shall have waived,

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    1 compromised, settled, discharged, extinguished, and released, fully, finally, and
    2 forever, any and all Released Plaintiff’s Claims and Released Defendants’ Claims
    3 as applicable, known or unknown, suspected or unsuspected, contingent or absolute,
    4 accrued or unaccrued, apparent or unapparent, which now exist, or heretofore
    5 existed, or may hereafter exist, without regard to the subsequent discovery or
    6 existence of such different or additional facts, legal theories, or authorities. Plaintiff
    7 and Defendants acknowledge, and the Releasing Plaintiff’s Parties and Released
    8 Defendants’ Parties shall be deemed by operation of the Final Judgment to have
    9 acknowledged, that the foregoing waiver was separately bargained for and a key
   10 element of the Settlement.
   11         2.     The Settlement
   12         2.1    The obligations incurred pursuant to this Stipulation are: (a) subject to
   13 approval by the Court and the Judgment, reflecting such approval, becoming Final;
   14 and (b) in full and final disposition of the Litigation with respect to the Releasing
   15 Plaintiff’s Parties and Released Defendants’ Parties and any and all Released
   16 Plaintiff’s Claims and Released Defendants’ Claims.
   17                a.    The Settlement Amount
   18         2.2    In full settlement of the claims asserted in the Litigation against
   19 Defendants and in consideration of the releases specified in ¶4, below, all of which
   20 the Settling Parties agree are good and valuable consideration, Defendants shall
   21 cause to be paid the Settlement Amount by wire transfer or check in accordance with
   22 instructions to be provided by the Escrow Agent. The Settlement Amount shall be
   23 paid into the interest-bearing escrow account established for the settlement
   24 controlled by Plaintiff’s Counsel in five installments, as set forth in the following
   25 schedule: (1) first payment, in the amount of $150,000 (comprised of $100,000 from
   26 Defendant Ramy El-Batrawi and $50,000 from WestPark), on or before December
   27 4, 2021; (2) second payment, in the amount of $250,000, on or before January 18,
   28 2022; (3) third payment, in the amount of $250,000, within 90 calendar days from

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    1 the second payment; (4) fourth payment, in the amount of $250,000, within 90
    2 calendar days from the third payment; (5) fifth payment, in the amount of $250,000,
    3 within 90 calendar days from the fourth payment. The Settling Parties agree that the
    4 Settlement Fund is intended to be a Qualified Settlement Fund within the meaning
    5 of Treas. Reg. §1.468B-1. In the event any payment is not made in accordance with
    6 the specified schedule, Plaintiff may cause to be filed the Conditional Consent
    7 Judgment, executed by EvMo, Inc., Terren Peizer and WestPark Capital, Inc. on
    8 October 20, 2021, with the District Court for the Central District of California on
    9 any business day following a default.
   10         2.3    With the sole exception of Defendants’ obligation to secure payment of
   11 the Settlement Amount into the Escrow Account as provided for in ¶2.2, the
   12 Released Defendants’ Parties shall have no responsibility for, interest in, or liability
   13 whatsoever with respect to: (i) any act, omission, or determination by Plaintiff or the
   14 Claims Administrator, or any of their respective designees, in connection with the
   15 administration of the Settlement or otherwise; (ii) the management, investment, or
   16 distribution of the Settlement Fund; (iii) the Plan of Allocation; (iv) the
   17 determination, administration, calculation, or payment of any claims asserted against
   18 the Settlement Fund; (v) any loss suffered by, or fluctuation in value of, the
   19 Settlement Fund; or (vi) the payment or withholding of any Taxes, expenses, and/or
   20 costs incurred in connection with the taxation of the Settlement Fund, distributions
   21 or other payments from the Escrow Account, or the filing of any federal, state, or
   22 local returns.
   23         2.4    Other than the obligation to cause the payment of the Settlement
   24 Amount pursuant to ¶2.2, Defendants shall have no obligation to make any other
   25 payments into the Escrow Account or to any Class Member pursuant to this
   26 Stipulation.
   27
   28

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    1               b.    The Escrow Agent
    2        2.5    The Escrow Agent shall invest the Settlement Amount deposited
    3 pursuant to ¶2.2 hereof in United States Agency or Treasury Securities or other
    4 instruments backed by the Full Faith & Credit of the United States Government, or
    5 an Agency thereof, or fully insured by the United States Government or an Agency
    6 thereof and shall reinvest the proceeds of these instruments as they mature in similar
    7 instruments at their then-current market rates. The Released Defendants’ Parties
    8 shall have no responsibility for, interest in, or liability whatsoever with respect to
    9 investment decisions executed by the Escrow Agent. All risks related to the
   10 investment of the Settlement Fund shall be borne solely by the Settlement Fund. The
   11 Escrow Agent shall not disburse the Settlement Fund except as provided in the
   12 Stipulation, by an order of the Court, or with the written agreement of Defendants’
   13 Counsel.
   14        2.6    Subject to further order(s) and/or directions as may be made by the
   15 Court, or as provided in the Stipulation, the Escrow Agent is authorized to execute
   16 such transactions as are consistent with the terms of the Stipulation. The Released
   17 Defendants’ Parties shall have no responsibility for, interest in, or liability
   18 whatsoever with respect to the actions of the Escrow Agent, or any transaction
   19 executed by the Escrow Agent.
   20        2.7    All funds held by the Escrow Agent shall be deemed and considered to
   21 be in custodia legis of the Court, and shall remain subject to the jurisdiction of the
   22 Court, until such time as such funds shall be distributed or returned pursuant to the
   23 Stipulation and/or further order(s) of the Court.
   24        2.8    Before the Effective Date, without further approval from Defendants or
   25 further order of the Court, Lead Counsel may expend up to $200,000.00 from the
   26 Settlement Fund to pay Notice and Administration Expenses actually incurred.
   27 Additional sums for this purpose before the Effective Date may be paid from the
   28 Settlement Fund upon approval of Defendants or further order of the Court. Taxes

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    1 and fees related to the Escrow Account and investment of the Settlement Fund may
    2 be paid as incurred, without further approval of Defendants or further order of the
    3 Court. After the Effective Date, without approval of Defendants or further order of
    4 the Court, Notice and Administration Expenses may be paid as incurred. In the event
    5 that the Settlement does not become Final, any money paid or incurred for the above
    6 purposes, including any related fees, shall not be returned or repaid to Defendants or
    7 its insurers.
    8         2.9     It shall be Lead Counsel’s responsibility to disseminate the Notice and
    9 Summary Notice to the Class in accordance with this Stipulation and as ordered by
   10 the Court. Class Members shall have no recourse as to the Released Defendants’
   11 Parties with respect to any claims they may have that arise from any failure of the
   12 notice process.
   13                 c.    Taxes
   14         2.10 (a)      The Settling Parties agree to treat the Settlement Fund as being
   15 at all times a “Qualified Settlement Fund” within the meaning of Treas. Reg.
   16 §1.468B-1. In addition, the Escrow Agent shall timely make, or cause to be made,
   17 such elections as necessary or advisable to carry out the provisions of this ¶2.10,
   18 including the “relation-back election” (as defined in Treas. Reg. §1.468B-1) back to
   19 the earliest permitted date. Such elections shall be made in compliance with the
   20 procedures and requirements contained in such regulations.             It shall be the
   21 responsibility of the Escrow Agent to timely and properly prepare and deliver the
   22 necessary documentation for signature by all necessary parties, and thereafter to
   23 cause the appropriate filing(s) to occur.
   24                 (b)   The Settling Parties agree that Lead Counsel shall be
   25 “administrators” of the Qualified Settlement Fund for the purpose of § 468B of the
   26 Internal Revenue Code of 1986, as amended, and the regulations promulgated
   27 thereunder. Lead Counsel shall timely and properly file, or cause to be filed, all
   28 federal, state, or local tax returns and information returns necessary or advisable with

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    1 respect to the earnings on the funds deposited in the Escrow Account (including,
    2 without limitation, the returns described in Treas. Reg. §1.468B-2(k)). Such returns
    3 (as well as the election described in ¶2.10(a) hereof) shall be consistent with this
    4 ¶2.10 and in all events shall reflect that all Taxes (including any estimated Taxes,
    5 interest or penalties) on the income earned on the funds deposited in the Escrow
    6 Account shall be paid out of the Settlement Fund as provided in ¶2.10(c) hereof.
    7               (c)    All (a) Taxes (including any estimated Taxes, interest or
    8 penalties) arising with respect to the income earned by the Settlement Fund,
    9 including any Taxes or tax detriments that may be imposed upon the Released
   10 Defendants’ Parties or their counsel with respect to any income earned by the
   11 Settlement Fund for any period during which the Settlement Fund does not qualify
   12 as a “Qualified Settlement Fund” for federal or state income tax purposes, and
   13 (b) Tax Expenses shall be paid out of the Settlement Fund; in all events the Settling
   14 Parties and their counsel shall have no liability or responsibility for the Taxes or the
   15 Tax Expenses. Taxes and Tax Expenses shall be treated as, and considered to be, a
   16 cost of administration of the Settlement Fund and shall be timely paid by the Escrow
   17 Agent out of the Settlement Fund without prior order from the Court or approval of
   18 Defendants, and Lead Counsel shall be authorized (notwithstanding anything herein
   19 to the contrary) to withhold from distribution to any Authorized Claimant any funds
   20 necessary to pay such amounts, including the establishment of adequate reserves for
   21 any Taxes and Tax Expenses (as well as any amounts that may be required to be
   22 withheld under Treas. Reg. §1.468B-2(l)(2)); neither the Releasing Plaintiff’s
   23 Parties, the Released Defendants’ Parties nor their counsel are responsible nor shall
   24 they have any liability for any Taxes or Tax Expenses. The Settling Parties hereto
   25 agree to cooperate with the Escrow Agent, each other, their counsel, and their tax
   26 attorneys and accountants to the extent reasonably necessary to carry out the
   27 provisions of this ¶2.10.
   28

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    1                d.    Termination of Settlement
    2         2.11 In the event that the Settlement is not approved, or the Settlement is
    3 terminated, canceled, or fails to become effective for any reason, the Settlement
    4 Fund less Notice and Administration Expenses or Taxes or Tax Expenses paid,
    5 incurred, or due and owing in connection with the settlement provided for herein,
    6 shall be refunded pursuant to written instructions from Defendants’ Counsel in
    7 accordance with ¶7.5 herein, except that the $100,000 contribution to the Settlement
    8 Fund to be made by Ramy El-Batrawi shall not be reimbursed to him under any
    9 circumstance. Instead, the $100,000, or any remainder after payment of costs of
   10 notice and administration, will be cy pres to a charity of Plaintiff’s choosing.
   11         3.     Class Certification, Preliminary Approval Order, Proposed
                     Judgment and Settlement Hearing
   12
              3.1    Plaintiff shall seek, and Settling Defendants shall not oppose, the
   13
        Court’s certification of three Classes for settlement purposes only pursuant to Fed.
   14
        R. Civ. P. 23, which the Classes as to Settling Defendant shall be defined as follows:
   15
              The putative classes are defined as: (i) All persons or entities who
   16         purchased or otherwise acquired YayYo common stock pursuant
              and/or traceable to the registration statement and related prospectuses
   17         issued in connection with YayYo’s November 13, 2019 initial public
              offering; (ii) All persons or entities who purchased or otherwise
   18         acquired YayYo stock during the period from November 13, 2019
              through and including April 28, 2020 (the “Class Period”); and (iii) all
   19         persons or entities who were primary investors and acquired shares of
              YayYo common stock pursuant to the November 13, 2019 IPO.
   20         Excluded from the Classes are Defendants; the officers and directors
              of Defendants; members of Defendants’ families and their legal
   21         representatives, heirs, successors, and assigns; and any entity in which
              Defendants have or had a controlling interest.3 In addition, any person
   22         or entity who or which submits a request for exclusion from the
              Classes that is accepted by the Court shall also be excluded from the
   23         Classes.
   24         3.2    Settling Defendants retain all of their objections, arguments, and
   25 defenses, and each or all of them reserves all rights to contest class certification if
   26
   27   3
              Controlling interest shall be defined as having a majority ownership interest
        or ownership of the majority of voting stock of the entity.
   28

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    1 the Settlement set forth in this Stipulation does not receive the Court’s final approval,
    2 if the Court’s approval is reversed or vacated on appeal, if the Settlement is
    3 terminated as provided herein, or if the Settlement set forth in this Stipulation
    4 otherwise fails to proceed for any other reason. The Settling Parties acknowledge
    5 there has been no stipulation to a class or certification of a class for any purpose
    6 other than effectuating the Settlement, and that, if the Settlement set forth in this
    7 Stipulation does not receive the Court’s final approval, if the Court’s approval is
    8 reversed or vacated on appeal, if this Stipulation is terminated as provided herein, or
    9 if the Settlement set forth in this Stipulation otherwise fails to proceed for any other
   10 reason, then this agreement as to certification of the Class for settlement purposes
   11 only shall become null and void ab initio, and neither this Stipulation nor any other
   12 Settlement-related statement may be cited in support of any argument for certifying
   13 a class related to this proceeding.
   14         3.3   After execution of the Stipulation, the Plaintiff shall file a motion no
   15 later than November 19, 2021, seeking entry of the Preliminary Approval Order,
   16 substantially in the form of Exhibit A attached hereto, requesting, inter alia, the
   17 preliminary approval of the Settlement set forth in the Stipulation and accompanying
   18 exhibits.
   19         3.4   Notice shall be provided in accordance with Fed. R. Civ. P. 23, based
   20 on direction and approval from the Court. The cost of providing Notice to the Class
   21 Members in the manner set forth above shall be paid out of the Settlement Fund, and
   22 the Claims Administrator shall administer dissemination of the Notice, under the
   23 direction of Lead Counsel. Class Members shall have no recourse as to Defendants
   24 or Defendants’ Counsel with respect to any claims they may have that may arise
   25 from any failure of the notice process.
   26         3.5   Lead Counsel expects to, subject to the Court’s approval, combine the
   27 form of notice as to this Settlement with the form of notice as to the prior settlement
   28 with Aegis, thereby reducing Notice and Administration Expenses. If that occurs,

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    1 any Notice and Administration Expenses, including for purposes of ¶¶2.8, 2.11, 5.5,
    2 and 7.4, shall be borne and deducted equally from the settlement funds of Defendants
    3 and Aegis.
    4         3.6   Lead Counsel shall request that, after Notice is provided to the Class,
    5 the Court hold the Settlement Hearing and approve the Settlement of the Litigation
    6 as set forth herein. At or after the Settlement Hearing, Lead Counsel shall also
    7 request that the Court approve the proposed Plan of Allocation, Fee and Expense
    8 Award to Plaintiff’s Counsel, and a service award on behalf of a person or people in
    9 connection with representation of the Classes.
   10         4.    Releases
   11         4.1   By operation of the Final Judgment, as of the Effective Date, as defined
   12 in ¶1.11 hereof, Plaintiff and each and every Releasing Plaintiff’s Party shall be
   13 deemed to have fully, finally, and forever waived, released, discharged, and
   14 dismissed each and every one of the Released Plaintiff’s Claims against Defendants
   15 and each and every one of the Released Defendants’ Parties and shall forever be
   16 barred and enjoined from commencing, instituting, prosecuting, or maintaining any
   17 and all of the Released Plaintiff’s Claims against any and all of the Released
   18 Defendants’ Parties, whether or not such Releasing Plaintiff’s Party executes and
   19 delivers the Proof of Claim and Release or otherwise shares in the Settlement Fund.
   20 Claims to enforce the terms of the Stipulation are not released.
   21         4.2   The Proof of Claim and Release to be executed by the Class Members
   22 shall release all Released Plaintiff’s Claims against the Released Defendants’ Parties
   23 and shall be substantially in the form of Exhibit A-2 attached hereto.
   24         4.3   By operation of the Final Judgment, as of the Effective Date, as defined
   25 in ¶1.11 hereof, Defendants and each and every Released Defendants’ Party shall be
   26 deemed to have fully, finally, and forever waived, released, discharged, and
   27 dismissed each and every one of the Released Defendants’ Claims against each and
   28 every one of the Releasing Plaintiff’s Parties and shall forever be barred and enjoined

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    1 from commencing, instituting, prosecuting, or maintaining any and all of the
    2 Released Defendants’ Claims against any and all of the Releasing Plaintiff’s Parties.
    3 Claims to enforce the terms of the Stipulation are not released.
    4         5.     Administration and Calculation of Claims, Final Awards,
                     and Supervision and Distribution of the Settlement Fund
    5
              5.1    As part of the Preliminary Approval Order, Lead Counsel shall seek
    6
        appointment of a Claims Administrator. The Claims Administrator shall administer
    7
        the Settlement, including, but not limited to, the process of receiving, reviewing, and
    8
        approving or denying Claims, under Lead Counsel’s supervision and subject to the
    9
        jurisdiction of the Court.    The Released Defendants’ Parties and Defendants’
   10
        Counsel shall have no responsibility for or interest in whatsoever with respect to the
   11
        administration of the Settlement or the actions or decisions of the Claims
   12
        Administrator, and shall have no liability whatsoever to the Releasing Plaintiff’s
   13
        Parties, including Plaintiff, any other Class Members, or Plaintiff’s Counsel, in
   14
        connection with such administration, including, but not limited to, with respect to:
   15
        (i) any act, omission, or determination by Lead Counsel, the Escrow Agent, and/or
   16
        the Claims Administrator, or any of their respective designees or agents, in
   17
        connection with the administration of the Settlement or otherwise; (ii) the
   18
        management or investment of the Settlement Fund or the Net Settlement Fund, or
   19
        the distribution of the Net Settlement Fund; (iii) the Plan of Allocation; (iv) the
   20
        determination, administration, calculation, or payment of any claims asserted against
   21
        the Settlement Fund; (v) any losses suffered by, or fluctuations in value of, the
   22
        Settlement Fund; or (vi) the payment or withholding of any taxes, expenses, and/or
   23
        costs incurred with the taxation of the Settlement Fund or the filing of any federal,
   24
        state, or local returns. Defendants’ Counsel shall cooperate in the administration of
   25
        the Settlement to the extent reasonably necessary to effectuate its terms.
   26
              5.2    In accordance with the terms of the Preliminary Approval Order, Lead
   27
        Counsel shall cause the Claims Administrator to mail the Notice and Claim Form to
   28

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    1 those members of the Class as may be identified through reasonable effort. Lead
    2 Counsel shall also cause the Claims Administrator to have the Summary Notice
    3 published in accordance with the terms of the Preliminary Approval Order to be
    4 entered by the Court. Defendants shall act with due speed to provide the Claims
    5 Administrator the names of potential Class Members.
    6        5.3     The Claims Administrator, subject to such supervision and direction of
    7 the Court and/or Lead Counsel as may be necessary or as circumstances may require,
    8 shall provide Notice of the Settlement to the Class Members, shall administer and
    9 calculate the Claims submitted by the Authorized Claimants pursuant to the Plan of
   10 Allocation, and shall oversee distribution of the Net Settlement Fund to the
   11 Authorized Claimants.
   12        5.4     In accordance with the schedule approved by the Court, Lead Counsel
   13 shall cause the Claims Administrator to provide Notice in accordance with the
   14 procedure and schedule approved by the Court. The cost of providing such Notice
   15 shall be paid out of the Settlement Fund.
   16        5.5     The Settlement Fund shall be applied as follows:
   17                (a)   to pay all Notice and Administration Expenses as described in
   18 ¶2.8, above;
   19                (b)   to pay the Taxes and Tax Expenses as described in ¶2.10, above;
   20                (c)   to pay the Fee and Expense Award to Plaintiff’s Counsel;
   21                (d)   to pay any awards to Plaintiff; and
   22                (e)   after the Effective Date, to distribute the Net Settlement Fund to
   23 Authorized Claimants pursuant to the Stipulation and the Plan of Allocation, as
   24 approved by the Court.
   25        5.6     Upon the Effective Date and thereafter, and in accordance with the
   26 terms of the Stipulation, the Plan of Allocation, or such further approval and further
   27 order(s) of the Court as may be necessary or as circumstances may require, the Net
   28

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    1 Settlement Fund shall be distributed to Authorized Claimants, subject to and in
    2 accordance with the following:
    3         5.7   Within ninety (90) days following the mailing of the Notice or such
    4 other time as may be set by the Court, each person or entity claiming to be an
    5 Authorized Claimant shall be required to submit to the Claims Administrator a
    6 completed Proof of Claim and Release, substantially in the form of Exhibit A-2
    7 attached hereto, signed under penalty of perjury and supported by such documents
    8 as shall be specified in the Proof of Claim and Release.
    9         5.8   The Claims Administrator shall receive Claims and determine first,
   10 whether the Claim is a valid Claim, in whole or in part, and second, each Authorized
   11 Claimant’s pro rata share of the Net Settlement Fund based upon each Authorized
   12 Claimant’s recognized Claim compared to the total recognized Claims of all
   13 Authorized Claimants (as set forth in the Plan of Allocation provided in the Notice
   14 attached hereto as Exhibit A-1, or in such other plan of allocation as the Court
   15 approves).
   16         5.9   Except as otherwise ordered by the Court, all Class Members who fail
   17 to timely submit a valid Proof of Claim and Release within such period, or such other
   18 period as may be ordered by the Court, or otherwise allowed, shall be forever barred
   19 from receiving any payments pursuant to the Stipulation and the Settlement set forth
   20 herein, but will in all other respects be subject to and bound by the provisions of the
   21 Stipulation, the releases contained herein, and the Final Judgment. Notwithstanding
   22 the foregoing, Lead Counsel shall have the discretion (but not an obligation) to
   23 accept late-submitted Claims for processing by the Claims Administrator so long as
   24 the distribution of the Net Settlement Fund to Authorized Claimants is not materially
   25 delayed thereby, but will bear no liability for failing to accept such late Claims.
   26         5.10 Proofs of Claim and Release that do not meet the submission
   27 requirements may be rejected. Prior to rejection of a Proof of Claim and Release,
   28 the Claims Administrator shall communicate with Claimants in order to remedy the

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    1 curable deficiencies in the Proofs of Claim and Release submitted. The Claims
    2 Administrator, under supervision of Lead Counsel, if necessary, shall notify, in a
    3 timely fashion and in writing, all Claimants whose Proofs of Claim and Release it
    4 proposes to reject in whole or in part, setting forth the reasons therefore, and shall
    5 indicate in such notice that the Claimant whose Claim is to be rejected has the right
    6 to a review by the Court if the Claimant so desires and complies with the
    7 requirements of ¶5.11, below.
    8         5.11 If any Claimant whose Claim has been rejected in whole or in part
    9 desires to contest such rejection, the Claimant must, within twenty (20) calendar
   10 days after the mailing of the notice required in ¶5.10, above, or a shorter period of
   11 time if the Claim was untimely, serve upon the Claims Administrator a notice and
   12 statement of reasons indicating the Claimant’s grounds for contesting the rejections
   13 along with any supporting documentation, and requesting a review thereof by the
   14 Court. If a dispute concerning a Claim cannot otherwise be resolved, Lead Counsel
   15 shall thereafter present the request for review to the Court. Defendants shall not take
   16 a position on the administrative determinations of the Claims Administrator.
   17         5.12 Each Claimant who submits a Proof of Claim and Release shall be
   18 deemed to have submitted to the jurisdiction of the Court with respect to the
   19 Claimant’s Claim, including, but not limited to, all releases provided herein and in
   20 the Final Judgment, and the Claim will be subject to investigation and discovery
   21 under the Federal Rules of Civil Procedure, provided that such investigation and
   22 discovery shall be limited to that Claimant’s status as a Class Member and the
   23 validity and amount of the Claimant’s Claim. No discovery shall be allowed on the
   24 merits of the Litigation or settlement in connection with the processing of the
   25 Claims.     All proceedings with respect to the administration, processing and
   26 determination of Claims and the determination of all controversies relating thereto,
   27 including disputed questions of law and fact with respect to the validity of Claims,
   28 shall be subject to the jurisdiction of the Court, but shall not in any event delay or

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    1 affect the finality of the Judgment. All Class Members, other Claimants, and parties
    2 to this Settlement expressly waive trial by jury (to the extent any such right may
    3 exist) and any right of appeal or review with respect to such determinations.
    4        5.13 Payment pursuant to this Stipulation and Plan of Allocation shall be
    5 deemed final and conclusive against all Claimants. All Class Members whose
    6 Claims are not approved shall be barred from participating in a distribution from the
    7 Net Settlement Fund, but otherwise shall be bound by all of the terms of this
    8 Stipulation and the Settlement, including the terms of the Final Judgment to be
    9 entered in the Litigation and the releases provided for herein, and shall be banned
   10 from bringing any action against the Released Defendants’ Parties concerning the
   11 Released Plaintiff’s Claims.
   12        5.14 Following the Effective Date, the Net Settlement Fund shall be
   13 distributed to the Authorized Claimants substantially in accordance with the Plan of
   14 Allocation approved by the Court. No distributions will be made to Authorized
   15 Claimants who would otherwise receive a distribution of less than $10.00. If there
   16 is any balance remaining in the Net Settlement Fund after a reasonable period of
   17 time after the date of the initial distribution of the Net Settlement Fund, Lead
   18 Counsel shall, if feasible, reallocate such balance among Authorized Claimants who
   19 negotiated the checks sent in the initial distribution and who would receive a
   20 minimum of $10.00. These redistributions shall be repeated until the balance
   21 remaining in the Net Settlement Fund is de minimis. Thereafter, any balance which
   22 still remains in the Net Settlement Fund shall be donated to an appropriate 501(c)(3)
   23 non-profit organization selected by Lead Counsel.
   24        5.15 Other than in the event of the termination of the Settlement pursuant to
   25 this Stipulation, Settling Defendant shall not have a reversionary interest in the Net
   26 Settlement Fund.
   27        5.16 No Person shall have any claim against Plaintiff, Plaintiff’s Counsel, or
   28 the Claims Administrator, or any other Person designated by Lead Counsel based on

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    1 determinations or distributions made substantially in accordance with the Stipulation
    2 and the Settlement contained herein, the Plan of Allocation, or further order(s) of the
    3 Court.
    4          5.17 It is understood and agreed by the Settling Parties that any proposed
    5 Plan of Allocation of the Net Settlement Fund, including, but not limited to, any
    6 adjustments to an Authorized Claimant’s Claim set forth therein, is not a part of the
    7 Stipulation and is to be considered by the Court separately from the Court’s
    8 consideration of the fairness, reasonableness, and adequacy of the Settlement set
    9 forth in the Stipulation, and any order or proceeding relating to the Plan of Allocation
   10 shall not operate to terminate or cancel the Stipulation or affect the finality of the
   11 Court’s Judgment approving the Stipulation and the Settlement set forth herein.
   12          6.    Plaintiff’s Counsel’s Attorneys’ Fees and Expenses
   13          6.1   Lead Counsel will submit a Fee and Expense Application on behalf of
   14 all Plaintiff’s Counsel for: (a) an award of attorneys’ fees; plus (b) expenses or
   15 charges in connection with prosecuting the Litigation; plus (c) any interest on such
   16 attorneys’ fees and expenses at the same rate and for the same periods as earned by
   17 the Settlement Fund (until paid) as may be awarded by the Court. Lead Counsel
   18 reserves the right to make additional applications for fees and expenses incurred.
   19          6.2   The amount of attorneys’ fees and expenses awarded by the Court is
   20 within the sole discretion of the Court. Any attorneys’ fees and expenses awarded
   21 by the Court shall be paid from the Settlement Fund to Lead Counsel (on behalf of
   22 all Plaintiff’s Counsel) immediately upon entry of the Judgment and an Order
   23 awarding such attorneys’ fees and expenses, notwithstanding the existence of any
   24 timely filed objections thereto or to the Settlement, or potential for appeal therefrom,
   25 or collateral attack on the awarded fees and expenses, the Settlement, or any part
   26 thereof.
   27          6.3   In the event that the Effective Date does not occur, or the Judgment or
   28 the order making the Fee and Expense Award is reversed or modified, or the

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    1 Stipulation is canceled or terminated for any other reason, and such reversal,
    2 modification, cancellation or termination becomes Final and not subject to review,
    3 and in the event that the Fee and Expense Award has been paid to any extent, then:
    4 (a) Lead Counsel with respect to the entire Fee and Expense Award, and (b) such of
    5 Plaintiff’s Counsel who have received any portion of the Fee and Expense Award
    6 shall within thirty (30) business days from receiving notice from Defendants’
    7 Counsel or from a court of appropriate jurisdiction, refund to the Settlement Fund
    8 such fees and expenses previously paid to them from the Settlement Fund plus
    9 interest thereon at the same rate as earned on the Settlement Fund in an amount
   10 consistent with such reversal or modification. Each such Plaintiff’s Counsel’s law
   11 firm receiving fees and expenses, as a condition of receiving such fees and expenses,
   12 on behalf of itself and each partner and/or shareholder of it, agrees that the law firm
   13 and its partners and/or shareholders are subject to the jurisdiction of the Court for
   14 the purpose of enforcing the provisions of this paragraph.
   15         6.4   The procedure for and the allowance or disallowance by the Court of
   16 any applications by Lead Counsel for attorneys’ fees and expenses to be paid out of
   17 the Settlement Fund are not part of the Settlement set forth in the Stipulation, and
   18 are to be considered by the Court separately from the Court’s consideration of the
   19 fairness, reasonableness, and adequacy of the Settlement set forth in the Stipulation,
   20 and shall have no effect on the terms of the Stipulation or on the validity or
   21 enforceability of this Settlement. The approval of the Settlement, and it becoming
   22 Final, shall not be contingent on the award of attorneys’ fees and expenses, any
   23 award to Plaintiff or Plaintiff’s Counsel, nor any appeals to such awards. Plaintiff
   24 and Lead Counsel may not cancel or terminate the Stipulation or the Settlement in
   25 accordance with ¶¶7.1-7.8 or otherwise based on the Court’s or any appellate court’s
   26 ruling with respect to fees and expenses in the Litigation.
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    1         6.5      Any fees and/or expenses awarded by the Court shall be paid solely
    2 from the Settlement Fund.          The Released Defendants’ Parties shall have no
    3 responsibility for any payment of attorneys’ fees and/or expenses to Lead Counsel.
    4         6.6      The Released Defendants’ Parties shall have no responsibility for the
    5 allocation among Plaintiff’s Counsel, any other counsel who have represented one
    6 or more Plaintiff in the Litigation, and/or any other Person who may assert some
    7 claim thereto, of any Fee and Expense Award that the Court may make in the
    8 Litigation.
    9         7.       Conditions of Settlement and Effect of Disapproval,
                       Cancellation or Termination
   10
              7.1      The Effective Date of the Settlement shall be the first business day on
   11
        which all of the following shall have occurred or been waived:
   12
                       (a)   execution of this Stipulation and such other documents as may
   13
        be required to obtain final Court approval of the Stipulation;
   14
                       (b)   the Settlement Amount in its entirety has been deposited into the
   15
        Escrow Account;
   16
                       (c)   no party has exercised their/its option to terminate the
   17
        Stipulation;
   18
                       (d)   the Court has entered the Preliminary Approval Order;
   19
                       (e)   the Court has entered the Judgment, or a judgment substantially
   20
        in the form of Exhibit B attached hereto, following Notice to the Classes and the
   21
        Settlement Hearing; and
   22
                       (f)   the Judgment has become Final.
   23
              7.2      This is a non-reversionary settlement. Upon the Effective Date, the
   24
        Released Defendants’ Parties shall have no interest in the Settlement Fund or in the
   25
        Net Settlement Fund, shall not have any right to the return of the Settlement Fund or
   26
        any portion thereof for any reason, and shall not have any liability in connection with
   27
        the administration and distribution of the Settlement. The Released Defendants’
   28

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    1 Parties shall not be liable for the loss of any portion of the Settlement Fund, or have
    2 any liability, obligation, or responsibility for the payment of Claims, Taxes, legal
    3 fees, or any other expenses payable from the Settlement Fund. If the conditions
    4 specified in ¶7.1 hereof are not met, then the Stipulation shall be canceled and
    5 terminated subject to ¶7.4 hereof unless Lead Counsel and Defendants’ Counsel
    6 mutually agree in writing to proceed with the Stipulation.
    7         7.3    Defendants and Plaintiff shall each have the right to terminate the
    8 Settlement and this Stipulation by providing written notice of their election to do so
    9 to all other counsel of the Settling Parties within thirty (30) days of:
   10                (a)   the Court’s final non-appealable refusal to enter the Preliminary
   11 Approval Order or any material part of it;
   12                (b)   the Settlement Amount not being timely funded when Lead
   13 Counsel has complied with its obligations as provided for in this Stipulation;
   14                (c)   the Court’s final non-appealable refusal to approve this
   15 Stipulation or any material part of it;
   16                (d)   the Court’s final non-appealable refusal to enter the proposed
   17 Judgment or any material part of it; or
   18                (e)   the Judgment being modified or reversed in any material respect
   19 by a Final order of the Court, the United States Court of Appeals, or the Supreme
   20 Court of the United States. For the avoidance of doubt, no order of the Court or
   21 modification or reversal on appeal of any order of the Court concerning the Plan of
   22 Allocation or the amount of any attorneys’ fees, expenses, and interest awarded by
   23 the Court to Plaintiff’s Counsel or Plaintiff shall operate to terminate or cancel this
   24 Stipulation or constitute grounds for cancellation or termination of the Stipulation.
   25         7.4    Unless otherwise ordered by the Court, in the event the Settlement is
   26 not approved or the Settlement is terminated, canceled, or fails to become effective
   27 for any reason, within thirty (30) business days after joint written notification of such
   28 event is sent by Defendants’ Counsel and Lead Counsel to the Escrow Agent, the

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    1 Settlement Fund (including accrued interest), less expenses which have either been
    2 disbursed pursuant to ¶¶2.8 and 2.10, above, or are chargeable to the Settlement
    3 Fund pursuant to ¶¶2.8 and 2.10, above, shall be refunded by the Escrow Agent
    4 pursuant to written instructions from Defendants’ Counsel. The Escrow Agent or
    5 its designee shall apply for any tax refund owed on the Settlement Amount and pay
    6 the proceeds, after deduction of any fees or expenses incurred in connection with
    7 such application(s) for refund, pursuant to written instructions from Defendant
    8 Aegis’ Counsel.
    9         7.5    In the event that the Stipulation is not approved by the Court, or the
   10 Settlement set forth in the Stipulation is terminated or fails to become effective in
   11 accordance with its terms, the Settling Parties shall be restored to their respective
   12 positions in the Litigation as of the date of the execution of this Stipulation. In such
   13 event, the terms and provisions of the Stipulation and any aspect of the discussions or
   14 negotiations leading to this Stipulation, with the exception of ¶¶2.8, 2.10, 2.11, 6.3,
   15 7.5-7.7, 8.4, and 8.6 hereof, shall not be admissible in this Litigation and shall not be
   16 used against or to the prejudice of Defendants or against or to the prejudice of Plaintiff,
   17 in any court filing, deposition, at trial, or otherwise, and any judgment or order entered
   18 by the Court in accordance with the terms of the Stipulation shall be treated as vacated,
   19 nunc pro tunc.
   20         7.6    If the Effective Date does not occur, or if the Stipulation is terminated
   21 pursuant to its terms, neither Plaintiff nor Plaintiff’s Counsel shall have any
   22 obligation to repay any amounts disbursed pursuant to ¶¶2.8 or 2.10, above. In
   23 addition, any expenses already incurred pursuant to ¶¶2.8 or 2.10, above, at the time
   24 of such termination or cancellation but which have not been paid, shall be paid by
   25 the Escrow Agent in accordance with the terms of the Stipulation prior to the balance
   26 being refunded in accordance with ¶¶2.11 and 7.5, above.
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    1         8.    Miscellaneous Provisions
    2         8.1   The Settling Parties: (a) acknowledge it is their intent to consummate
    3 this Settlement; and (b) agree to cooperate to the extent reasonably necessary to
    4 effectuate and implement all terms and conditions of the Stipulation and to exercise
    5 their best efforts to accomplish the foregoing terms and conditions of the Stipulation.
    6         8.2   The Settling Parties warrant that the Conditional Consent Judgment,
    7 executed October 20, 2021, will remain operative until the Settlement Amount has
    8 been paid in full. If any clause in the Conditional Consent Judgment differs from
    9 this Agreement, the terms of this Agreement shall govern. At any default in the
   10 payment schedule outlined in ¶¶2.2, the Conditional Consent Judgement will be filed
   11 by Lead Counsel with accompanying documents.               WestPark’s obligation and
   12 liability under the Conditional Consent Judgment are extinguished upon payment of
   13 WestPark’s Settlement Amount.
   14         8.3   The Settling Parties intend the Settlement to be the full, final, and
   15 complete resolution of all claims asserted or that could have been asserted by the
   16 Settling Parties with respect to the Litigation, Released Plaintiff’s Claims, and
   17 Released Defendants’ Claims. The Settlement compromises claims which are
   18 contested and shall not be deemed an admission by either Plaintiff or Defendants as
   19 to the merits of any claim or defense. Pursuant to 15 U.S.C. §78u-4(c)(1), the Final
   20 Judgment will contain a finding that, during the course of the Litigation, the Settling
   21 Parties and their respective counsel at all times complied with the requirements of
   22 Fed. R. Civ. P. 11 in connection with the maintenance, prosecution, defense, and
   23 settlement of the Litigation and shall not make any application for sanctions,
   24 pursuant to Rule 11 or other court rule or statute, with respect to any claim or defense
   25 in this Litigation. The Settling Parties agree the Settlement Amount and the other
   26 terms of the Settlement were and continue to be negotiated at arm’s length and in
   27 good faith by the Settling Parties, and reflect a settlement that was reached
   28 voluntarily based upon adequate information and after consultation with competent

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    1 legal counsel. The Settling Parties shall not assert or pursue any action, claim, or
    2 rights that any such party or their respective counsel violated Rule 11 with respect
    3 to the Federal Court Action or the PSLRA. The Settling Parties reserve their
    4 respective rights to rebut, in a manner that such party determines to be appropriate,
    5 any contention made in any public forum regarding the Litigation, including that the
    6 Litigation was brought or defended in bad faith or without a reasonable basis.
    7         8.4    The Settling Parties shall, in good faith, endeavor to communicate the
    8 terms of the Settlement, if at all, in a manner that is respectful of the fact that no final
    9 adjudication of fault was determined by a court or a jury.
   10         8.5    Except as set forth in ¶8.4, below, this Stipulation, whether or not
   11 consummated, and whether or not approved by the Court, and any discussions,
   12 negotiations, proceedings, or agreements relating to the Stipulation, the Settlement,
   13 and any matters arising in connection with settlement discussions or negotiations,
   14 proceedings, or agreements, shall not be offered or received against or to the
   15 prejudice of the Settling Parties or their respective counsel, for any purpose other
   16 than in an action to enforce the terms hereof, and in particular:
   17                (a)    do not constitute, and shall not be offered or received against or
   18 to the prejudice of Defendants or any other Released Defendants’ Party as evidence
   19 of, or construed as, or deemed to be evidence of any presumption, concession or
   20 admission by Defendants or any other Released Defendants’ Party with respect to
   21 the truth of any allegation by Plaintiff and the Classes or the validity of any claim
   22 that has been or could have been asserted in the Litigation or in any litigation,
   23 including, but not limited to, the Released Plaintiff’s Claims, or of any liability,
   24 damages, negligence, fault or wrongdoing of Defendants, any other Released
   25 Defendants’ Party, or any person or entity whatsoever;
   26                (b)    do not constitute, and shall not be offered or received against or
   27 to the prejudice of Defendants’ or any other Released Defendants’ Party as evidence
   28 of a presumption, concession, or admission of any fault, misrepresentations, or

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    1 omission with respect to any statement or written document approved or made by
    2 Defendants or any other Released Defendants’ Party, or against or to the prejudice
    3 of Plaintiff or any other Class Members as evidence of any infirmity in the claims of
    4 Plaintiff or the other Class Members;
    5               (c)    do not constitute, and shall not be offered or received against or
    6 to the prejudice of Defendants or any other Released Defendants’ Party, Plaintiff,
    7 any other Class Members, or their respective counsel, as evidence of a presumption,
    8 concession or admission with respect to any liability, damages, negligence, fault,
    9 infirmity, or wrongdoing, or in any way referred to for any other reason against or
   10 to the prejudice of any of the Settling Parties, in any other civil, criminal, or
   11 administrative action or proceeding, other than such proceedings as may be
   12 necessary to effectuate the provisions of this Stipulation;
   13               (d)    do not constitute, and shall not be construed as, or offered or
   14 received against or to the prejudice of Defendants or any other Released Defendants’
   15 Party, Plaintiff, or any other Class Members, as evidence of a presumption,
   16 concession, or admission that the consideration to be given hereunder represents the
   17 amount which could be or would have been recovered after trial; and
   18               (e)    do not constitute, and shall not be construed as, or offered or
   19 received against or to the prejudice of Defendants or any other Released Defendants’
   20 Party, Plaintiff, or any other Class Members, as evidence of a presumption,
   21 concession, or admission that any of their claims are without merit or infirm or that
   22 damages recoverable in the Litigation would not have exceeded the Settlement
   23 Amount.
   24         8.6   Defendants or any other Released Defendants’ Party may file this
   25 Stipulation and/or the Judgment in any action that may be brought against it in order
   26 to support a defense or counterclaim based on principles of res judicata, collateral
   27 estoppel, release, statute of limitations, statute of repose, good-faith settlement,
   28 judgment bar or reduction, or any theory of claim preclusion or issue preclusion or

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    1 similar defense or counterclaim, or to effectuate any liability protection granted them
    2 under any applicable insurance policy. The Settling Parties may file this Stipulation
    3 and/or the Judgment in any action that may be brought to enforce the terms of this
    4 Stipulation and/or the Judgment. The Settling Parties submit to the jurisdiction of
    5 the Court for purposes of implementing and enforcing the Settlement.
    6         8.7   All agreements made and orders entered during the course of the
    7 Litigation relating to the confidentiality of information shall survive this Stipulation.
    8         8.8   All of the Exhibits to the Stipulation are material and integral parts
    9 hereof and are fully incorporated herein by this reference.
   10         8.9   The Stipulation, along with its Exhibits, may be amended or modified
   11 only by a written instrument signed by or on behalf of all Settling Parties or their
   12 respective successors-in-interest.
   13         8.10 The waiver by one Settling Party of any breach of this Stipulation by
   14 any other Settling Party shall not be deemed a waiver of any other prior or
   15 subsequent breach of this Stipulation.
   16         8.11 The Stipulation and its Exhibits constitute the entire agreement among
   17 the Settling Parties and no representations, warranties or inducements have been
   18 made to any party concerning the Stipulation or its Exhibits other than the
   19 representations, warranties, and covenants contained and memorialized in such
   20 documents.
   21         8.12 Lead Counsel, on behalf of the Classes, is expressly authorized by
   22 Plaintiff to take all appropriate action required or permitted to be taken by the
   23 Classes pursuant to the Stipulation to effectuate its terms and also is expressly
   24 authorized to enter into any modifications or amendments to the Stipulation on
   25 behalf of the Classes which it deems appropriate.
   26         8.13 All counsel and any other person executing this Stipulation and its
   27 Exhibits, or any settlement-related document, warrant and represent that they have
   28 the full authority to do so, and that they have the authority to take appropriate action

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    1 required or permitted to be taken pursuant to the Stipulation to effectuate its terms,
    2 without requiring additional consent, approval, or authorization of any other Person,
    3 board, entity, tribunal, or other regulatory or governmental authority.
    4         8.14 The Stipulation may be executed in one or more counterparts. All
    5 executed counterparts and each of them shall be deemed to be one and the same
    6 instrument. A complete set of executed counterparts shall be filed with the Court.
    7 Signatures sent by facsimile or pdf’d via e-mail shall be deemed originals.
    8         8.15 This Stipulation shall be binding when signed, but the Settlement shall
    9 be effective upon the entry of the Final Judgment and the payment in full of the
   10 Settlement Amount, subject only to the condition that the Effective Date will have
   11 occurred.
   12         8.16 The Stipulation shall be binding upon, and inure to the benefit of, the
   13 successors and assigns of the Settling Parties hereto.
   14         8.17 The headings herein are used for the purpose of convenience only and
   15 are not meant to have legal effect.
   16         8.18 The administration and consummation of the Settlement as embodied
   17 in this Stipulation shall be under the authority of the Court, and the Court shall retain
   18 jurisdiction for the purpose of entering orders providing for awards of attorneys’ fees
   19 and any expenses, and implementing and enforcing the terms of this Stipulation.
   20         8.19 Pending approval of the Court of the Stipulation and its Exhibits, all
   21 proceedings in this Litigation shall be stayed as to Defendants and all Class Members
   22 shall be barred and enjoined from prosecuting any of the Released Plaintiff’s Claims
   23 against any of the Released Defendants’ Parties.
   24         8.20 The construction, interpretation, operation, effect, and validity of this
   25 Stipulation, its Exhibits, and all documents necessary to effectuate them, shall be
   26 governed by the internal, substantive laws of the State of California without giving
   27 effect to that State’s choice-of-law principles, except to the extent that federal law
   28 requires that federal law govern.

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     1        8.21 This Stipulation shall not be construed more strictly against one Settling
     2 Party than another merely by virtue of the fact that it, or any part of it, may have
     3 been prepared by counsel for one of the Settling Parties, it being recognized that it
     4 is the result of arm's-length negotiations among the Settling Parties, and all Settling
     5 Parties have contributed substantially and materially to the preparation of this
     6 Stipulation.
     7        8.22 Nothing in the Stipulation, or the negotiations relating thereto, is
     8 intended to or shall be deemed to constitute a waiver of any applicable privilege or
     9 immunity, including, without limitation, attorney-client privilege, joint defense
    10 privilege, or work product protection.
    11        8.23 Unless otherwise provided, the Settling Parties may agree to reasonable
    12 extensions of time to carry out any of the provisions of this Stipulation without
    13 further order of the Court.
    14        8.24 Except as otherwise provided herein, each party shall bear its own costs.
    15        IN WITNESS WHEREOF, the parties hereto have caused the Stipulation to
    16 be executed, by their duly authorized attorneys.
    17 Dated: November 18, 2021
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          Dated: November 18,2021
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    21
                                                          JEREMY LIEBERMAN
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    2                                           Guzy, Christopher Miglino, Jon Rosen,
                                                Paul Richter, Harbant S. Sidhu
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        Dated: November 18, 2021          FREEMAN MATHIS & GARY, LLP
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    8
                                                Attorneys for WestPark Capital, Inc.
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